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UNITED STATES D|STR|CT COURT
MlDDLE D|STR|CT OF FLOR|DA
JACKSONV|LLE DlV|SION
W|NN-DleE STORES, lNC.,
P|aintiff,
v. Case No. 3:15-cv-1143-J-39PDB
SOUTHEAST MlLK, lNC., NAT|ONAL
MlLK PRODUCERS FEDERAT|ON,
DA|RY FARMERS OF AN|ER|CA, lNC.,
LAND O’LAKES, lNC., DA|RYLEA
COOPERAT|VE lNC., and AGRl-MARK,
lNC.,

Defendants.
l

ORDER
TH|S CAUSE is before the Court on Defendants’ l\/lotion and Supporting

Memorandum for Summary Judgment on Statute of Limitations and Standing (Doc. 187)
and P|aintiffs' Response in Opposition (Doc. 208; Opposition).1

On September 23, 2015, P|aintiff Winn-Dixie Stores, lnc. (“Winn-Dixie” or
“Plaintiff”) initiated this action by filing the Comp|aint, Demand for Jury Tria|, and Request
for lnjunctive Re|ief (Doc. 1). On August 31, 2016, P|aintiff filed the Amended Comp|aint
and Demand for Jury Tria| (Doc. 56; Amended Comp|aint) against Defendants Southeast
Milk, lnc. (“Sl\/l|")l National Mi|k Producers Federation ("NMPF”), Cooperatives Working

Together (“CV\fl'"), Dairy Farmers of America, lnc. (“DF "), Land O’Lakes, lnc. (“LOL”),

 

1 By Order dated December 13, 2018 (Doc. 232), the Court granted P|aintiffs’ |Vlotion to
Dismiss P|aintiff Bl-LO Holdings, LLC, Pursuant to FRCP Ru|e 41(a)(2) and incorporated
Memorandum of Law (Doc. 179), dismissing P|aintiff B|-LO Holdings, LLC without prejudice
subject to a condition of payment. Even though the Opposition was filed by both P|aintiffs, for
purposes of this Motion the Court will refer to the only remaining P|aintiff - Winn-Dixie.

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Dairy|ea Cooperative lnc. (“DC|”), and Agri-l\/lark, lnc. (“AM|") (collective|y “Defendants").
Am. Compl. 1111 24-30. The action involves alleged violations of Section 1 of the Sherman
Act, 15 U.S.C. § 1, which provides in part that “[e]very contract, combination in the form
of trust or othen/vise, or conspiracy, in restraint of trade or commerce among the several
States, or with foreign nations, is declared to be illega|." W iga 1[1| 126-31 (citing 15
U.S.C. § 1).
|. Standard of Law

Under Ru|e 56 of the Federal Rules of Civil Procedure, “[t]he court shall grant
summaryjudgment if the movant shows that there is no genuine dispute as to any material
fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P 56(a). The
record to be considered on a motion for summary judgment may include “depositions,
documents, electronically stored information, afhdavits or declarations, stipulations
(inc|uding those made for purposes of the motion only), admissions, interrogatory
answers, or other materials." Fed. R. Civ. P. 56(c)(1)(A). An issue is genuine when the
evidence is such that a reasonable jury could return a verdict in favor of the non-movant.
See l\_/ii_ze v. Jefferson Citv §d. of Educ., 93 F.3d 739, 742 (11th Cir. 1996) (quoting
Hairston v. Gainesville Sgn Publ’g Co., 9 F.3d 913, 919 (11th Cir. 1993)). “[A] mere
scintilla of evidence in support of the non-moving party's position is insufficient to defeat
a motion for summary judgment." Kesincier ex rel. §state of Kesinggv. Herrinqton, 381
F.3d 1243, 1247 (11th Cir. 2004) (citing Anderson Mertv lebv. |nc., 477 U.S. 242,
252 (1986)).

The party seeking summary judgment bears the initial burden of demonstrating to

the Court, by reference to the record, that there are no genuine issues of material fact to

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be determined at trial. §e_e Q|_ark v. Coats & C|ark. lnc., 929 F.2d 604, 608 (11th Cir.
1991). “When a moving party has discharged its burden, the non-moving party must then
go beyond the pleadingsl and by its own affidavits, or by depositions, answers to
interrogatories, and admissions on fi|e, designate speciHc facts showing that there is a
genuine issue for tria|.” Jefferv v. Sarasota White Sox. |nc.. 64 F.3d 590, 593-94 (11th
Cir. 1995) (interna| citations and quotation marks omitted). Substantive law determines
the materiality of facts, and “[o]n|y disputes over facts that might affect the outcome of the
suit under the governing law will properly preclude the entry of summary judgment."
Anderson, 477 U.S. at 248. ln determining whether summary judgment is appropriate, a
court “must view all evidence and make all reasonable inferences in favor of the party
opposing summaryjudgment.” Haves v. Cig( of l\/liami, 52 F.3d 918, 921 (11th Cir. 1995)
(citing Dibrell Bros. |nt'l, S.A. v. Banca Naziona|e Del Lavoro, 38 F.3d 1571, 1578 (11th
Cir. 1994)).
||. Factua| Background
a. The Parties

P|aintiff Winn-Dixie “is a subsidiary of Southeastern Grocers, which is one of the
largest supermarket chains based in the Southeast." (Doc. 188 ‘|] 3, Ex. 1 at 1; Dec|aration
of Jill M. O’Toole). Established in 1916, NMPF “is a federation of dairy cooperatives that
are engaged in the production and marketing of milk and dairy products." (Doc. 189 11 3;
Dec|aration of Jerome Kozak).2 As ofAugust 2018, NMPF was comprised of twenty-eight

member cooperatives, “which together represent approximately 30,000 dairy producers,

 

2 Nlr. Kozak is the former President and Chief Executive Ofncer of NMPF. Kozak Dec|. 11

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accounting for the majority of the U.S. milk supply.” ld_. Defendants SM|, DFA, LOL, and
Al\/ll are among the twenty-eight member cooperatives in NMPF. W Motion at 3 (citing
Am. Comp|. 1111 24-30).

b. The Cooperatives Working Together, the Export Assistance
Program, and the Herd Retirement Program

ln 2003, NMPF established the Cooperative Working Together program (“CVVT")
"to address the excess supply of raw milk that was depressing prices paid to dairy farmers
for milk . . . Kozak Decl. 11 5. CWT “is a separately-funded producer-led program within
the structure of NMPF." ld_. 11 7. CWT was endorsed by members of Congress, including
' Congressman Bob Goodlatte, who was at the time the Chairman of the United States
House of Representatives Agriculture Committee. ld_. 11 14 (citing
http:l/www.cwt.coop/testimonials/); see also O’Too|e Decl. at Ex. 35 (a portion of a
transcript containing Congressman Goodlatte's comments about the CVVT).
To participate in the CWT, members pay a monthly assessment to NMPF “based
on the amount of milk marketed by the CWT member." Kozak Decl. 11 14. From 2003
through 2010, “the assessments ranged from 5 t010 cents for every hundred pounds of
raw milk that CWT’s members’ farmers sold." g The CWT included two programs -the
Export Assistance Program (“EAP") and the Herd Retirement Program (“HRP”). _S§e_ g
1111 7, 21. The EAP "assists CWT member cooperatives with exporting eligible dairy
products and establishing overseas markets for their members’ milk." ld_. 11 21. As of
August 2018, the EAP was still operating. B id_.
The HRP, which is at issue in the instant case, "was a CWT Program that helped
dairy farmers, who chose to do so, to market their dairy cattle for beef in an effort to better

align the supply and demand of raw mi|k.” §§ 11 8. Essentia||y, the HRP operated as an

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incentive to farmers “to convert the use of the farmer’s asset - a herd of cows - from
milking to beef by providing funds to individual dairy farmers to help bridge the gap
between the generally lower beef value of their cows and the generally higher mi|king
value of their cows." g The HRP ended in 2010. ld_. 11 21.

NMPF publicized the HRP in its newsletter and advertised it in trade publications,
radio advertisements, and brochures. §§ id_. 11 16. NMPF created a website for the
program that “disclosed how many bids were submitted by farmersl how many bids were
accepted, how many cows would be culled due to the HRP, and estimated, based on
economic modeling predictions, approximately how much the nation’s milk output would
be reduced." ld_.11 17. National newspapers ran articles discussing the HRP and the CWl`.
W O'Toole Decl. 1111 8(a)-(e) (attaching newspaper articles about the HRP from Reuters
News, The Washington Post, USA Today, Los Angeles Times, and Boston G|obe). Loca|
newspapers in areas where P|aintiff owned and operated processing plants also ran
articles about the HRP and the CWT. S_ee_ id_. 1111 9(a)-(e) (attaching newspaper articles
about the HRP from The News-Press in Fort Myers, Florida, the Montgomery Advertiser
in Montgomery, A|abama, The Palm Beach Post in West Palm Beach, Florida, the Sunday
Advocate in Baton Rouge, Louisiana, and the St. Petersburg Times in St. Petersburg,
Florida). Fina|lyl the Dairy Foods magazine website posted numerous articles about the
HRP and the CWT. §e_e id_. 1111 10(a)-(u) (citing twenty-one articles); see also i_d_. 11 38
(citing Ex. 36 “CVVT Participation Growth P|an”).

Between 2003 and 2010, the HRP conducted ten herd retirements. § Opp. at 7,
Ex. 2 at 3-4; see also Kozak Decl. 11 18 (“NlVlPF, through CWT, conducted ten herd

retirements."). Herds were retired in every state1 except Alaska and Hawaii. Kozak Decl.

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11 20. Every heard retirement was publicly announced B id_. 1111 16-18. The HRP did not
have the desired effects. B id_. 11 19. As a result, the last herd retirement was completed
in September 2010 and the HRP discontinued that same year. §§ i_d_.
|ll. Discussion
a. The Commencement of the Statute of Limitations

“Under the antitrust laws, ‘a cause of action accrues and the statute [of limitations]
begins to run when a defendant commits an act that injures the plaintiffs' business."’
lVlorton‘s Mkt., lnc. v. Gustafson's Dairv, lnc.l 198 F.3d 823, 827 (11th Cir. 1999),
amended in part, 211 F.3d 1224 (11th Cir. 2000) (quoting Zenith Radio Corg. v. Hazeltine

Research |nc., 401 U.S. 321l 338 (1971)). A plaintiff must file its antitrust claim within

 

four years following a defendant's injurious act. _S__e§ id_. (citing 15 U.S.C. § 15b). A plaintiff
may file its claim more than four years after the events that initially created the cause of
action “if the action is commenced within four years after the defendant commits (1) an
overt act in furtherance of the antitrust conspiracy or (2) an act that by its very nature
constitutes a ‘continuing antitrust violation."' ld_. at 827-28 (citing Zenith Radio Corg. 401
U.S. at 338); see also ln re Photochromic L_ens Antitrust Litig., No. 8:10-MD-2173-T-
27EAJ, 2011 WL 4914997, at *2 (M.D. Fla. Oct. 14, 2011) (Regarding continuing
violations, “each time a plaintiff is injured by an act of the defendants a cause of action
accrues to him to recover the damages caused by that act and . . . as to those damages,
the [S]tatute of [L]imitations runs from the date of commission of the act.” (internal
quotations and citation omitted)). A plaintiff may also tile its antitrust claim more than more
than four years after accrual of the antitrust cause of action if the statute is tolled for some

reason. See Nlorton's l\/lkt.l lnc., 198 F.3d at 828 n.2.

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A continuing violation of the antitrust laws is an act that "injures the plaintiff over a
period of time" and “inf|icts ‘continuing and accumulating harm'" on the plaintiff §_e_e ig at
828. lf an act is a continuing violation of the antitrust lawsl the “violation occurs each time
the plaintiff is injured by the act.” g (citing Hanover Shoe, lnc. v. L_lnite@oe Mach.
Q_<_)Lg, 392 U.S. 481, 502 n.15 (1968)). “For example, when sellers conspire to fix the
price of a product, each time a customer purchases that product at the artificially inflated
price, an antitrust violation occurs and a cause of action accrues.” g (citing K|ehr v. A.O.
Smith Corg., 521 U.S. 179, 189 (1997)). ln other words, each sale to the plaintiff starts
the statute of limitation period anew, "regardless of the plaintiffs knowledge of the alleged
illegality at much earlier times.” Q_ehr, 521 U.S. at 189 (internal quotations and citation
omitted).

The law also recognizes that a conspirator may withdraw from a conspiracy. §§

|Vlorton's l\/lkt. lnc.l 198 F.3d at 837 (citation omitted). A conspirator who withdraws from

 

a conspiracy “is no longer a member of the conspiracy and the subsequent acts of the
conspirators usually do not bind him." g Withdrawal of a conspiracy is a complete
defense when it is coupled with the Statute of Limitations. §§ id_. Thus, if the conspirator
“is not sued within the limitations period, all claims against him are time-barred [and] [h]e
cannot be held liable for the acts of the other conspirators after he withdrew because his
withdrawal effectively ended his membership in the conspiracy." ld_. The standard for
effective withdrawal is as follows:

“Affirmative acts inconsistent with the object of the conspiracy and

communicated in a manner reasonably calculated to reach co-conspirators

have generally been regarded as suchient to establish withdrawal or
abandonment."

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§§ at 838 (quoting l_Jnited States v. U.S. vasum Co., 438 U.S. 422, 464-65 (1978)).
While “mere cessation of activity is not sufficient to establish withdrawa|, a conspirator
may avoid further liability for his actions if he aermatively and completely disassociates
himself from the continued operation of the conspiracy.” g (citing United States v. Hoqan.
986 F.2d 1364, 1375 (11th Cir.1993); United States v. Lowe|l, 649 F.2d 950, 955 (3d
Cir.1981)). “[l]t has long been necessary that the conspirator demonstrate that he
‘undertook affirmative steps, inconsistent with the objects of the conspiracyl to dis_av_o_w
or to defeat the conspiratorial objectives.”’ ld_. (quoting United States v. Finestone, 816
F.2d 583, 589 (11th Cir. 1987)); See also United States v. Younq, 39 F.3d 1561, 1571
(11th Cir. 1994) (“first, the defendant must prove that he has taken affirmative steps to
defeat the objectives of the conspiracy; and second, he must show either that he made a
reasonable effort to communicate these acts to his co-conspirators or disclosed the
scheme to law enforcement authorities.”).

P|aintiff commenced this action on September 23, 2015 - five years after the last
herd was retired under the HRP. Defendants argue that Plaintiff's claims are time-barred
by the applicable four-year Statute of Limitations. § Motion at 9 (citing 15 U.S.C. §
15b). Defendants contend that the alleged antitrust violations do not constitute continuing
violations because the only conduct that P|aintiff challenges is the HRP, which ended in
September 2010. § id_. at 9-11. Under Defendants' theory, any damages allegedly
caused by the HRP “do not qualify as overt acts suchient to restart the [S]tatute of

[L]imitations" B id_. (emphasis omitted). A|though not explicitly raised by Defendants,

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the Court also considers whether Defendant may have withdrawn from the alleged
conspiracy with regard to the Statute of Limitations.3

Even though there is no dispute that the last herd retirement occurred in
September 2010l P|aintiff maintains that “Defendants have not affirmatively shown that
they reduced their artificially high prices or returned to competitive pricing after the last
herd retirement." §§ Opp. at 6. Rather, P|aintiff argues that every sale to P|aintiff “from
2003-2013 began the [S]tatute of [L]imitations running anew because a horizontal
agreement to restrict output (supply) is the same as price-fixing, to which the theory
clearly applies." § at 6, Ex. 1 at 323:8-18 (Deposition of Bryan Ricchetti). ln support,
P|aintiff provides evidence from the parties’ contemporaneous economistl Dr. Scott
Brown, showing that “that the effect of each herd retirement on prices lasted 3-4 years . .
. §e§ § at 6, Ex. 2 at`7 (calcu|ating higher prices into 2012 from the herd retirements);
see also id_. at 6, Ex. 30 at 47:13-15, 48:8-25 (Deposition Excerpt of Edward Gal|agher)
(“[l]f you slaughter a three-year-old dairy cow that might otherwise be milked for two more
lactations, they would have two more calves . . . if you take, in this example, a three-year-
old cow and slaughtered it, then you would not have two calves that otherwise Would have
been born."). P|aintiff maintains that its claims based on purchases made through 2013
are time|y. E id_. at 7. P|aintiff argues that the individual herd retirements constituted “a
new and separate act in violation" and the Statute of Limitations began to run from them

all separately. _S_e_e id_.

 

. 3 Defendants cite Morton’s lVlkt. lnc., which also discusses the withdrawal defense. S_ee
Morton’s l\/lkt. lnc., 198 F.3d at 837.

 

 

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“The commencement of the [S]tatute of [L]imitations is a question of fact.” Morton's

Mkt. lnc., 198 F.3d at 828 (citing |n re Beef |ndus. Antitrust Litig., l\/|DL Docket No. 248,

 

600 F.2d 1148, 1169-70 (5th Cir. 1979)4). lf there is a genuine question as to when the
Statute of Limitations began to run, the Motion must be denied. §§ i_cL On this record,
the Court finds that genuine issues of material fact remain as to when the Statute of
Limitations began to run, Even though the last herd retirement occurred in September
2010, P|aintiff provides evidence that the alleged violations were continuing in nature.
See e.g., Opp. at 6, Ex. 2, 30 (depositions of Dr. Scott Brown and Edward Gal|agher
discussing the effects of the HRP on milk prices into at least 2012). Defendants’
publications support the same conclusion. For example, at least one publication states
that

[t]he beauty of CWT herd retirements is that the impact of each herd

retirement lasts several years. . . . For examp|e, the average impact on the

All Milk Price in 2009 of $1.50 per hundredweight, . . . is the result of the

2007 herd retirement, the two 2008 herd retirements and two of the three

2009 herd retirements. Since cows taken in the third herd retirement of 2009

may not all have gone to processing, its impact is not yet included in Dr.

Brown[ ]'s analysis.
O'Toole Decl. 11 39 at Ex. 37(part 3) at 9. The determination of when the Statute of
Limitations began in light of the continuing nature of the alleged violations will be left for
the jury to decide.

Separately, this record does not support a finding at this juncture that Defendants

withdrew from the alleged conspiracy with regard to the Statute of Limitations. Againl

there is no dispute that the last herd retirement occurred in 2010, which leads to the

 

4 ln Bonner v. Citv of Prichard, 661 F.2d 1206l 1209 (11th Cir.1981), the E|eventh Circuit
adopted as binding precedent all Fifth Circuit decisions handed down prior to October1, 1981 .

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inquiry of whether Defendants may have withdrawn from the conspiracy at that time. |f
Defendants effectively withdrew from the conspiracy in 2010, then Plaintiff’s claims would
be time barred unless the claims were tolled. See e.g41 Morton's l\likt., lnc. v. Ggstafson's
Daig(l lnc., 211 F.3d 1224 (11th Cir. 2000) (amending its December 20, 1999 opinion by
adding that the defendant “effective|y withdrew from the conspiracy in 1985 and, as to it,
these actions are not timely-filed unless the statute was equitably tolled by fraudulent
concealment lf so, [the defendant] would be liable for any price-fixing activity prior to its
withdrawal.” (emphasis omitted)). Here, however, there is no evidence to support that
Defendants affirmatively and completely disassociated themselves from the continued
operation of the conspiracy involving increased milk prices caused by the HRP. Rather,
P|aintiff provides evidence to support that the milk prices continued to increase after the
2010 herd retirement B Opp. at 6, Ex. 2 at 7 (evidence from Dr. Scott Brown showing
increases through at least 2012). Additiona|ly, the Court recognizes that the HRP and the
CWT were heavily publicized in various media outlets. However, there is no evidence that
Defendants made reasonable efforts to communicate the conclusion of the HRP and
specifically the last herd retirement in 2010, and that P|aintiff knew or should have known

that the 2010 herd retirement was in fact going to conclude the HRP.5

 

5 Defendants do not provide citation to evidence in their lVlotion, nor was the Court able to
locate such evidence during its own independent review of the record. Rather, the evidence
demonstrates that even though the CWT reached its 2009-10 participation goa|, which included
a two-year minimum commitment from the cooperatives and producers, in March 2009 the CWT
nonetheless encouraged additional participation "to maximize the effectiveness of CWT's
programs in 2009 and 2010 . . . .” w O’Toole Decl. 11 39 at Ex. 37 (part 2) at 11. Additiona|ly,
Defendants provide copies of brochures issued by the CWT including information and timelines
about how to participate in 2010' herd retirements. w _i_cL at 41, Ex. 39 at 24-25. Fina|ly, a June
2010 publication titled "CWT Beyond 2010,” stated that “[w]hen the CWl' Committee met in
Washlngton, D.C. on June 8th it began the process of considering what the program should do to
maintain producer margins in 2011 and beyond.” _Sie id_. at Ex. 37 (part 3) at 11.

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The Court finds that genuine issues of material fact exist as to when the Statute of
Limitations began in light of the continuing nature of the alleged violations and whether
Defendants effectively withdrew from the conspiracy, lf at trial, however, the jury finds
that the alleged conspiracy did not continue into the four-year limitations period
immediately preceding September 15, 2015, when P|aintiff filed its claims, or that
Defendants did effectively withdraw from the conspiracy, then the claims are time-barred
unless the statute was tolled.

b. Tolling the Statute of Limitations

P|aintiff argues that the Statute of Limitations was tolled under two theories -
equitable grounds of fraudulent concealment and class action tolling. w Opp. at 7-13,
21-23. The Court Wil| consider each theory in turn.

i. Fraudu|ent Concealment

lf Defendants fraudulently concealed the HRP activities, then the Statute of
Limitations was tolled during the time of the concealment See e.q., Morton's lVlkt., lnc.,
198 F.3d at 832. lf so, P|aintiffs may recover damages for all the years during which the
conspiracy_was fraudulently concealed and the Statute was tolled. w i_<L To avail itself
of tolling under a fraudulent concealment doctrine, P|aintiff carries the burden of proving
at trial that Defendants concealed the conduct complained of, and that P|aintiff failed,
despite the exercise of due diligence on P|aintiffs part, to discover the facts that form the
basis of P|aintist claims. _S_eg id_. (quoting ln re Beef lndus. Antitrust Litiq., 600 F.2d at
1169)

On the instant Motion, however, Defendants as the moving parties bear the initial

burden of pointing out the undisputed facts which entitle them to judgment as a matter of

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law. Defendants must show that P|aintiff either knew of its claims or had notice suchient
to prompt it to investigate and that, had P|aintiff done so diligentlyl it would have

discovered the basis for its claims. §§ Morton's Mkt. lnc., 198 F.3d at 832. |f Defendants

 

demonstrate such facts in the record, then P|aintiff must show that these facts are in
dispute. S_ee §§ The Court resolves all doubt in favor of P|aintiff as the non-moving party.
This standard is applied with “particu|ar stringency" where P|aintiff alleges that
Defendants’ actions prevented P|aintiff from discovering its claims prior to the expiration
of the limitations period. § id_. Generally, “the issue of when a plaintiff in the exercise of
due diligence should have known of the basis for [its] claims is not an appropriate question
for summary judgment.” g (co||ecting cases). Rather, the determination of when a
plaintiff is on notice of its claims is a question of fact for a jury to decide. ld_. (citing _B_al_ley
v. A. H. Robins Co., 688 F.2d 1325, 1328 (11th Cir. 1982)).

Defendants argue that P|aintiff cannot show affirmative actions by Defendants

constituting concealment B Motion at 12 (citing Hill v. Texaco lnc., 825 F.2d 333, 335

 

(11th Cir. 1987)). Defendants maintain that they sought to publicize the HRP and not to
conceal it. §§ Kozak Dec|.1111 11-14, 16-17. ln opposition, P|aintiff argues that a question
of fact exists as to whether Defendants fraudulently concealed the HRP for tolling
purposes. Y Opp. at 15-21, fn.26, 27, and 32 (citing evidence relating to P|aintiffs lack
of notice of the HRP or CWT).’ P|aintiff provides evidence that when it inquired about the
increasing milk prices, Defendants represented that the increases were due to causes
other than the HRP or the CWT, including higher costs of feed and diesel fuel, and the
general ups and downs of the dairy industry. _S_Y Opp. at 21-23l fn. 38, 39, Ex. 14 at

95:20-97:24, Ex. 15 at 207:6-21, 208-16-209:18.

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Construing all doubt in favor of P|aintiff with particular stringency, as the Court
must, there is no evidence to support'that Defendants sought to conceal the HRP.
Defendants provide evidence that should have,'at the minimum, prompted P|aintiff to
investigate the HRP and the possibility of antitrust violations. w Kozak Decl. 1111 16-17;
see also O’Toole Decl. 1111 8(a)-(e) (attaching national newspaper articles about the HRP
and the CVVT), 1111 9(a)-(e) (attaching local newspaper articles about the HRP and the
CWT), 1111 10(a)-(u) (citing twenty-one Dairy Food magazine online articles including
articles about the HRP and the CWT). Defendants also provide evidence that numerous
United_ States Government Officials publicly discussed the HRP and commented on
NMPF‘s efforts to address the imbalance of milk supply and demand _S_eg Kozak Decl.
111110-15(citing numerous United States Government Officia|s’ commentary and personal
meetings discussing the HRP and CWT). For example, in November 2006, former
Secretary of Agriculture l\/lichael Johanns made the following comment

l also want to, if l might, commend you on your CWT or your Cooperatives

Working Together program. lt is refreshing to see dairy producers

collaborating to address the overall balance of milk supply and demand

through this voluntary program.
Q._ 11 11; see also O’Toole Decl. 11 34, Ex. 32 (transcript of remarks by Agriculture
Secretary l\/lichael Johanns, dated November 2, 2006). Later, in March 2009l Secretary
of Agriculture Thomas Vilsack, in a USDA news broadcast stated the following:

l will also say to the credit of the National Milk Producers Federation and

Jerry's leadership We are not going to duplicate or replicate the problems in

the cattle industry that we sometimes have had in the past. By seeing a

substantial and significant and immediate sale of surplus herd through the

Federation there is more of a glide path to a reduction of the herd. And we

expect and anticipate over a period of time that we may have as many as

250,000 to 300,000 fewer head out there. That may also provide an impact
that we would like to monitor and determine.

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§_e§ Kozak Decl. 11 13; see also O’Toole Decl. 11 36, Ex. 34 (transcript of a news
teleconference with Agriculture Secretary Thomas Vilsack dated March 26, 2009).
Congressman Robert Goodlatte endorsed the CWT stating that a continuation of the CWT
is “very forward looking" is “looking out for the best interest of dairy farmers,” and is
“beneficial” to participants and “to the industry as a whole.” S_ee_ Kozak Decl. 11 14; Le_

' ali O’Toole Decl. 11 37, Ex. 35 (transcript of statements made by Congressman Robert
Goodlatte). The publications were widespread, diverse in types of media outlets, and
were publicized in areas where P|aintiffs owned dairy plants.

The court in Morton's Mkt. lnc. reversed the district court’s grant of summary

 

judgment finding that newspaper articles regarding the defendants’ bid-rigging put the
plaintiffs on notice of its price-fixing scheme. See Morton's Mkt. lnc., 198 F.3d at 833. ln
that case, the court stated that it knew of no case “in Which information regarding one sort
of antitrust violation by a defendant has been held, as a matter of law, to constitute notice
of all other possible violations." ld_. The court held that notice of one wrong by a defendant
does not trigger “a duty for potential plaintiffs to investigate all other potential wrongs the
defendant might be committing . . . g at 834. 5

This Court is bound by Morton's Mkt. lnc. but finds it distinguishable from the

 

instant case. Here, Defendants are not relying on other alleged antitrust violations to
argue that P|aintiff had notice or could have excised due diligence to discover its claims.
Rather, Defendants maintain that they did nothing to conceal the HRP or the CWT and
the evidence supports the exact opposite in that Defendants sought to publicize the
programs w Motion at 13. Defendants argue, and the Court agrees, that there is no

evidence that Defendants afhrmatively concealed the HRP or the CWT or that P|aintiff

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failed, despite the exercise of due diligence on P|aintiff's part, to discover the necessary
facts to form the basis of P|aintiffs claims. That P|aintiff inquired about the increasing milk
prices only to learn of causes other than the HRP or the CWT does not equate to
affirmative concealment See e.g., M, 825 F.2d at 336 (tinding, mr B, no affirmative
concealment where the plaintiff “knew that the property was appraised at a value much
lower than the price that [defendant] was asking [and] [t]hat appraisal should have put
[the plaintiffj on notice . . . .").6 P|aintiff had notice sufficient to prompt it to investigate and
had P|aintiff done so diligent|y, it would have discovered the basis for its claims.

P|aintiff goes to great lengths to try to create an issue of fact as to whether it knew
of the HRP or the CWT. w Opp. 15-21 (citing evidence that P|aintiffs employees did
not know of the HRP or the CWT and did not read the various publications); see also
Opp. at 15-21, fn.26, 28, 32, 33, Ex. 26 (citing evidence relating to P|aintiffs’ lack of notice
of the HRP or the CWT including the Deposition of Donald T. Bernos).7 Again, construing
the evidence in the light most favorable to P|aintiff, a jury could not reasonably find that
despite the Widely publicized articles and United States Government Officials’ comments
and endorsements Defendants nonetheless concealed the HRP or the CVVT and

prevented P|aintiff from discovering the HRP or the CWT. ln light of the foregoing,

 

6 There are two exceptions to the affirmative concealment rule. See Hill, 825 F.2d 333,
336 n.2. l‘The first is where the defendant has a fiduciary responsibility to make disclosure.” § _
(internal citation omitted). “The second exception is where the wrong is of such a character as to
be self-concealing." g (internal citation omitted). While it appears that neither exception is
applicable to the instant case, under either of these exceptions, P|aintiff still must show that it
exercised due diligence to discover its cause of action. _S_ee id_.

7 Mr. Bernos was the Genera| lVlanager of the Hammond, Louisiana dairy plant owned by
Winn-Dixie and testified that he learned of some "federal herd reduction program” but was not
sure of the time frame or whether it was in fact the HRP at issue in this case. (W Doc. 208-27
at 28:15-17, 32:23-33:4, 36:20-23, 37:3-6 and 77:5-78:7); (see also Doc. 208-13 11 4; Declaration
of Donald Bemos (stating that he "had never heard of the [CWT] or its . . . [HRP]" and that as far
as he knows “no one at the Hammond or P|ant City plants knew of the CWT or the HRP.")).

 

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P|aintiffs claims were not tolled by fraudulent concealment The Motion is due to be
granted as to fraudulent concealment
ii. C|ass Action Tolling

P|aintiff also argues that previously filed class action cases tolled the Statute of
Limitations on P|aintiffs claims in this case from the date when the previous actions were
filed in September 2011 and January 2012 involving the same subject matter. W Opp.
at 7. The class action tolling doctrine provides that “the commencement of a class action
suspends the applicable [S]tatute of [L]imitations as to all asserted members of the class
who would have been parties had the suit been permitted to continue as a class action."
Am. Pipe & Const. Co. v. Utah, 414 U.S. 538, 554 (1974). The Statute of Limitation
“periods are intended to put defendants on notice of adverse claims and to prevent
plaintiffs from sleeping on their rights . . . Crown, Cork & Seal Co. v. Parker. 462 U.S.
345, 352 (1983). lt follows that “[o]nce the [S]tatute of [L]imitations has been tolled, it
remains tolled for all members of the putative class until class certification is denied [and
then] [a]t that point, class members may choose to file their own suits or to intervene as
plaintiffs in the pending action." g at 2397-98. ln both American Pipe and M, the
Court “addressed only putative class members who wish to sue individually after a class-
certification denial.” China»_°\gritech, lnc. v. Resh, 138 S. Ct. 1800, 1806 (2018). ln R_es_h,
the Court elaborated and explained that "a putative class member, in lieu of promptly
joining an existing suitor promptly filing an individual action,” may not “commence a class
action anew beyond the time allowed by the applicable [S]tatute of [L]imitations[.]" g at
1804. ln other words, the class action tolling doctrine “does not permit the maintenance

of a follow-on class action past expiration of the [S]tatute of [L]imitations.” §_e_e_ id_.

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P|aintiff relies on a succession of class action cases that were filed against various
defendants including the instant case Defendants NMPF, CVVT, DFA, LOLl DCl, and All/ll.
Defendant SM| was not a defendant in the previously'filed class actions. The class actions
involved alleged violations of antitrust laws pertaining to the HRP and the CWT.8 lnitially,
this Court recognizes that the instant action is not a class action.

On September 26l 2011, the class action case, Edwards v. National lVlilk
Prodiucers Federation, et al., was filed in the United States District Court, Northern District
of California. w Opp. at 8, Ex. 3 (“Edwards”).9 The Edwards case involved instant case
Defendants NlVlPF, CVVT, DFA, LOL, DCl and AlVll. (w Doc. 1 in Edwards). lt appears
that Edwards is on appeal in the United States District Court of Appeals for the Ninth
Circuit. (w Doc. 531 in Edwards). On August 6, 2013l the United States Panel on
lVlultidistrict Litigation (“lVlDL Panel") denied consolidation of Edwards and two other
consolidated actions in the Northern District of California with First impressions10 pending
in the United States District Court, Southern District of lllinois. (B Doc. 24 in Edwards
CAN/3:1 1-cv-04766).

On January 6, 2012, a class action, Stephen|_i.LaFrance Ho|di_ng. lnc. v. Natio&i_l

l\/lilk Producers Federation. et al., was filed in the United States District Court Eastern

 

5 Defendants provide a chart (Doc. 188-53; C|ass Action Chart) outlining the class actions,
parties, and the claims. The C|ass Action Chart identifies the claims that Defendants argue are
either barred by the Statute of Limitations, are at least partially timely, or are not covered by
P|aintiffs pleadings B C|ass Action Chart at 2-3. The C|ass Action Chart omits information
about Edwards v. National Milk Producers Federation, et al.l Case No. 4:11-cv-04766 (N.D. Cal.
2011).

9 Edwards v. National MHk Producers Federation et a|., Case No. 4:11-cv-04766 (N.D.
Cal. 2011).

1° First lmgressions Salonl lnc. v. National Milk Producers Federation et al. Case No.
3:13-cv-00454 (S. D. lll 2013).

 

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District of Pennsylvania. §§ Opp. at 8, Ex. 4 ("LaFrance").11 LaFrance involved instant
case Defendants NMPF, CWT, DFA, LOL, DCl, and AMl. (w Doc. 1 in LaFrance). On
July 31, 2012, LaFrance was transferred the United States District Court for the Northern

District of California. (§e_e_ Doc. 76 in LaFrance); see also O’Toole Decl. 1111 21-23, Ex. 19--

 

d 21; Stephen L.aFrance Holdi_ng, lnc. v.` National Milk Prod_ucers Federationl et al., Case
No. 3112-cv-04142 (N.D. Cali. 2012). On August 23, 2012, LaFrance was dismissed
without prejudice. (§e_e_ Doc. 82 in LaFrance, N.D. Cal. 2012); w O’Toole Decl. 1111
21-23, Ex. 19-21.

On December 7, 2012, LaFrance was replaced with another class action,
Blakeman v. National Milk Producers Federation et al., which was filed in the United
States District Court Southern District of lllinois. § id_. at48, Ex. 5 (“B|akeman”).12
Blakeman involved instant case Defendants NMPF, CWT, DFA, LOL, DCl, and AMl. '(_S§
Doc. 2 in Blakeman). On July 23, 2013, Blakeman Was dismissed. (Doc. 101 in
Blakeman).

Fina|ly, on May 10l 2013, First impressions was filed in the United States District
Court Southern District of lllinois. B i_d_. at 8, Ex. 6 (“First lmpressions”).13 First
lmpressions involved the instant case Defendants NMPF, CWT, DFA, LOL, DCl, and AMl.
(S_eg Doc. 2 in First lmpressions). On June 2, 2016, the MDL Panel denied consolidation
of the instant case with First impressions and the other consolidated cases in the

Southern District of l|linois. (See Doc. 25 in First impressions lLS/3:13-cv-00454). lt

 

" Stephen L. LaFrance Ho|dingl lnc. v. National Milk Producers Federatlon. et al., Case
No. 2112-cv-0007o (E.D. Pa. 2012).

12 Blakeman v. National Milk Producers Federation et a|.l Case No. 3:12-cv-01246 (S.D.
iii 2012).

13 _S__eg supra n.10.

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appears that First impressions is currently pending. (See generally docket in U
lmpressions).

Defendants concede that First impressions provides limited tolling to P|aintiffs
claims involving fresh dairy products from Defendants DFAl LOLl and AM| on or after May
22, 2009. § Motion at 15.14 Defendants argue that purchases of raw milk, cheese, and
butter, and purchases from Defendant SM`| are not tolled, §§ id_. at 15-18. Defendants
further argue that P|aintiff may not piggyback its claims on LaFrance and Blakeman. W
id_. at 18-19.

P|aintiff relies on Edwards and LaFrance to toll the Statute of Limitations. §e_e_ Opp.
at 7-13. P|aintiff argues that “class action tolling applies because one of its requirements
is that Defendants were on notice of the allegations of fact and |aw, in order to preserve
evidence, which would not get stale, become lost or othenivise be unavailab|e, prejudicing
Defendants in the later-med action." ld_. at 8. Thus`, P|aintiff maintains that Defendants in
this case would suffer no prejudice from unavailable evidence. §§ id_. Additiona|ly,
P|aintiff argues that issues of fact remain as to whether raw milk is fluid milk for purposes
of tolling. W id_. at 9, Ex. 7 (2/11/09 Email from Defendant SlVll’s CEO, Calvin Covington,

referring to the costs of fluid milk and referring to raw milk); see also §§ at 9, Ex. 8

 

14 Specifically, Defendants explain that with regard to fresh dairy products, First
impressions tolled

from May 10, 2013, through September 1'1, 2015, Winn-Dixie’s
claims for fresh dairy product purchases from the Named
Defendants, The limitations clock on these claims began to run
again on September 11, 2015, when they were dropped by the
class. Winn-Dixie filed this action twelve days later on September
23, 2015. Winn-Dixie may therefore appropriately claim American
m tolling on fresh dairy product purchases from the three Named
Defendants beginning l\/lay 22, 2009.

Opp. at 18.

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(Deposition of l\/iichael Lichte at 82:23-24 (testifying that dairy plants “receive fluid milk off
the farm.”)).

Based on the Court’s analysis of the previously filed class actions, the record in
this case, applicable |aw, and the parties' arguments the Motion is‘ due to be granted in
part and denied in part. Defendants concede, and the Court agrees that limited class
action tolling applies to P|aintiff’s claims for fresh dairy product purchases from
Defendants DFA, LOL, and AM| on or after May 22l 2009. w Motion at 15, 18.
Regarding the remaining Defendants and time periods, the Motion is due to be granted
in that class action tolling does not apply to P|aintiffs claims. The instant case and the
previously filed class actions do not as a matter of law align as to parties, subject matter,
and time periods lnitia|ly, the Court recognizes that Defendant SM| is omitted from ali
other previously filed class actions that P|aintiff relies on fortol|ing purposes Additiona|ly,
on June 2, 2016, the MDL Panel issued an Order Denying Transfer of the instant case to
the Southern District of illinois See in re Fresh Dairv Prod. Antitrust Litig. (No. li|i, 190 F.
Supp. 3d 135.3, 1355 (U.S. Jud. Pan. Mult. Lit. 2016) (stating that “the three illinois actions
have been consolidated . . . [and] have been pending for over three years, and class
certification-related proceedings are well underway" whereas this action “is an individual
actionl has been filed only recently, and it involves a defendant (Southeast Milk, lnc.) not
named in the illinois litigation.”). While Defendants, With the exception of Defendant SM|,
Would have presumably been on notice of claims involving the HRP, this does not end
the Court’s analysis As explained in M,

when a plaintiff invokes American Pipe in support of a separate lawsuit, the

district court should take care to ensure that the suit raises claims that

concern the same evidence, memories and witnesses as the subject matter
of the original class suit, so that the defendant will not be prejudiced Ciaims

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as to which the defendant was not fairly placed on notice by the class suit

are not protected under American Pipe and are barred by the [S]tatute of

[L]imitations
M, 462 U.S. at (internal quotations and citations omitted). The instant case differs in
parties, evidence, memories, and witnesses as P|aintiffs claims relate specifically to
Plaintiff's milk purchases With presumably different parties, claims, and subject matters
the Court is unable to conclude as a matter of law that P|aintiffs claims are entitled to
class action tolling. With the exception of the limited class action tolling conceded to by
Defendants, the Motion is due to be granted as to the class action tolling.

c. Standing

Apart from the Statute of Limitations issue, Defendants argue that P|aintiff lacks
standing. S_ee_ Nlotion at 19-21. “Standing ‘is the threshold question in every federal case,
determining the power of the court to entertain the suit."’ CAlVlP Leqal Def. Fundl lnc. v.
City of Atlanta, 451 F.3d 1257, 1269 (11th Cir. 2006) (quoting Warth v. Seldin, 422 U.S.

. 490, 499 (1975)). To establish Article lll standing, three elements must be present §

Dutv Free Americas, lnc. v. Estee LaLier C_)om@nies. lnc.l 797 F.3d 1248, 1271 (11th

Cir. 2015). “‘First, the plaintiff must_have suffered an "injury in fact’-an invasion of a
legally protected interest which is (a) concrete and particularized, and (b) actual or
imminentl not conjectural or hypotheticai."’ jd_. (quoting Luian v. Defs. of Wildlife, 504 U.S.
555, 560 (1992)). Next, “the plaintiff must establish a causal connection between its injury
and the defendant's conduct." l£l4 (citing gja_n, 504 U.S. at 560). “Third, the plaintiff must
show that it is likely-and not merely speculative-that a favorable decision by the court

will redress the injury." ch (citing Luian, 504 U.S. at 561). “The party invoking federal

jurisdiction bears the burden of establishing these elements.” Lujan, 504 U.S. at 561.

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Defendants argue that P|aintiff lacks standing on two grounds: (1) claims based on
raw milk purchases that P|aintiff purchased at its former plants because P|aintiff allegedly
assigned those claims to an affiliate of Defendant Sl\/l|; and (2) claims based on indirect
purchases through C&S Wholesa|e Grocers, lnc. (“C&S”). B Motion at 19-21.
Regarding the first argument Defendant maintains that the Asset Purchase Agreement
(Doc. 188-4; Agreement) “expressly transferred and assigned the relevant ‘Assets’ from
Winn-Dixie to" Sunshine State Dairy Farms, LLC (“Sunshine"). lVlotion at 19; see also
Agreement § 2.01 (“Upon the terms and subject to the conditions contained herein . . .
Se|ler will se|i, transfer, assign and deliver the Assets to Sunshine, and Sunshine will
purchase, acquire and accept the Assets from Seller . . . ."). Assets are defined as

all of the assets, properties and rights of Se|ler (inc|uding all assignable

guarantees warranties indemnities and similar rights of Se|ler with respect

to any of the Assets), of every type and description, real, personal and

mixed, directly relating to the Dairy Plants, including the Owned Real Estate,

the Subleased Real Estate, the inventories (other than finished product

inventories to be removed from the Dairy P|ants by Se|ler for relocation to

other locations of Se|ler), the Equipment, the Supplies, the Genera|

Property, the intellectual Property (other than intellectual Property

comprising or related to the Excluded Assets), the Assumed Contracts, and

other fixed or tangible assets known or unknown, fixed or unfixed, choate

or inchoate, accrued, absolute, contingent or otherwise, wherever located

and whether or not reflected on the books and records of the Se|ler,

excluding only the Excluded Assets
Agreement at Schedule A. The Excluded Assets include equipment listed in Schedule J,
“any non-assignable and non-transferable Contracts and Permits . . . accounts receivabie,
[and] all finished product inventories . . . .” _S_e_e id_. Defendants argue that legal claims are

not part of the Excluded Assets and thus must be assigned to Sunshine. W Motion at

20. Defendants also argue that P|aintiffs Corporate Representative, Graham Leary,

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“admitted that raw milk sales from SMi ‘re|ated direct|y’ to the plants.” g (citing O’Toole
Decl. 11 30, Ex. 28).15

in opposition, P|aintiff argues that the Agreement does not purport to assign the
claims in the instant case. §e§ Opp.- at 24. P|aintiff maintains that the Agreement at
Schedule A focuses on the tangible and intangible assets directly relating to the dairy
plants and thus genuine issues of material fact remain as to what directly related to the
plants §§ i_cL in support P|aintiff argues that Schedule D allocated the purchase price
amongst the Assets and lists only the following three categories of purchased assets: (1)
Land and Buiiding; (2) Persona| Property; and (3) Sublease. §§ id_. at 24, Ex. 28 at
Schedule D. in further support P|aintiff argues that Mr. Leary’s testimony raises a genuine
issue of material fact in that he did not recall any other assets being sold to Sunshine
other than the physical assets B Opp. at 24, Ex. 15 at 46:5-23. Aside from Mr. Leary’s
testimony, P|aintiff argues that if the Agreement did assign the claims to Sunshine, such
assignment is invalid as a matter of law. W §§ at 25 (citing Gulfstream ill Assocs., lnc.
v. Gulfstream Aerospace Corg, 995 F.2d 425, 437 (3d Cir. 1993)).

Regarding the second standing argument Defendants contend that P|aintiff lacks
standing to recover damages on purchases that it made indirectly through C&S. E
i\/iotion at 21. Defendants argue that as of i\/iay 1, 2013, P|aintiff ceased purchasing
directly from Defendants and began to purchase all dairy products indirectly through C&S.

§ id_. at 21; see also O’Toole Decl. 11 , Ex. 49 at 8 No. 21 (identifying May 1, 2013, as

 

15 Defendants cite Exhibit 28 to the O’Toole Declaration (Doc. 188-28)l which is sought to
be filed under seal (Doc. 193). However, Docket Entry 13_2-11 at page 17 provides a deposition
except of Graham Leary with the cited information.

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the date on which P|aintiff began purchasing Defendants’ milk products through C¢'§¢S).16

Defendants rely on Lake|and Reg'l Med. Ctr.. lnc. v. Aste|las US LLC, to argue that

 

“[u]nder the direct purchaser rule, only the customer who purchased the goods or services

at issue directly from the alleged antitrust violator can recover damages.” Lake|and Reg'l

 

Med. Ctr.. lnc. v. Aste|las US LLCl 763 F.3d 1280, 1285 (11th Cir. 2014) (citing M
Brick Co. v. illinois 431 U.S. 720, 736 (1977)). Not only does Lake|and involve a “classic
tying arrangement”17 not necessarily present in the instant case, but the direct purchaser
rule also provides numerous exceptions which Defendants conclusory state do not apply
here. w Motion at 21.

On this record, the Court finds that additional briefing is necessary to resolve the
issue of standing. The Court recognizes that the parties were limited in page length by
Rule 3.01 of the Locai Rules of the Middle District of Florida and the bifurcated briefing
schedule issued in this case (Doc. 174). As a result the Motion is due to be denied without
prejudice only as to the issue of standing. The Court will provide a briefing schedule.

lV. Conc|usion

in light of the foregoing, the i\/iotion is due to be granted in part and denied in part.

The Motion is due to be granted to the extent that P|aintiff's claims are not tolled by

 

16 P|aintiff does not provide a response to Defendants’ second standing argument _S_Y
generally Opp. at 23-25 (opposing Defendants’ first standing argument and omitting any argument
in the filing relating to the second standing argument involving C&S). Even without a response to
Defendants’ second standing argument it remains unclear what purchases if any, would remain
at issue afteri\/|ay 1, 2013. See generally Am. Compl.1111 18, 111, 124, 125 (identifying the relevant
time period between 2003 through 2013).

17 “A tying arrangement is ‘an agreement by a party to sell one product but only on the
condition that the buyer also purchases a different (or tied) product or at least agrees that he will
not purchase that product from any other supplier.'" Lake|and Req'l Med. Ctr.. lnc., 763 F.3d at
1284 n.2 (quoting Eastman Kodak Co. v. image Tech. Servs.l lnc., 504 U.S. 451l 461 (1992)).

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fraudulent concealment or class action tolling with the limited exception provided herein
and conceded to by Defendants The Motion is due to be denied in that P|aintiffs claims
are not necessarily barred by the Statute of- Limitations The Motion is also due to be
denied without prejudice as to the issue of standing.

The Court is mindful of its previous Order (Doc. 174; June 6, 2018 Order)
permitting a bifurcated briefing schedule in this case. With that in mind, the Court declines
to comment on the merits of P|aintiff’s claims at this stage. However, in light of the June
6, 2018 Order, the procedural posture of this case, including the recent dismissal of
P|aintiff Bl-LO, and this Order, the Court finds that an amended briefing schedule is
necessary.

Accordingly, after due consideration, it is

ORDERED:

1. Defendants’ i\/lotion and Supporting Memorandum for Summary Judgment
on Statute of Limitations and Standing (Doc. 187) is GRANTED in part and DENlED in
part as follows:

a. The Motion (Doc. 187) is GRANTED in part to the extent that
fraudulent concealment does not toll P|aintiffs claims

b. The Motion (Doc. 187) is GRANTED in part to the extent that class
action tolling does not apply to P|aintiffs claims with the limited exception provided herein
and conceded to by Defendants based on purchases of fresh dairy products from
Defendants Dairy Farmers of America, lnc., Land O’Lakes, lnc., and Agri-Mark, lnc. on or

after May 22, 2009.

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c. The Motion (Doc. 187) is DENlED in part as to the issue of the
Statute of Limitations

d. The Motion (Doc. 187) is DENlED in part without prejudice as to
the issue of standing.18

2. The following amended briefing schedule shall govern this case:

a. On or before February 15, 2019, Defendants may file a motion for
summary judgment regarding only the issue of standing. The motion shall not exceed
fifteen (15) pages in length. P|aintiffs response shall not exceed fifteen (15) pages in
length. The Court does not anticipate granting the parties leave to file reply briefs

b. The dispositive and Daubert motions deadline is extended up to and

 

including May 1, 2019.

i. Defendants’ Motion to Exclude the Opinions of P|aintiff's
Expert Dr. John Ni. Connor with incorporated Memorandum of Law (Doc. 190) is DENlED
without prejudice to refiling on or before May 1, 2019.19

ii. Piaintiffs’ Motion for Partial Summary Judgment and
Supporting Memorandum of Law (Doc. 194) is DENlED without prejudice to refiling on
or before May 1, 2019.2°

iii. Piaintiffs’ Corrected Motion to Exclude or Strike Defendants’

Affirmative Defense of Lack of Standing Relating to Piaintiffs' Purchases of Raw Milk and

 

18 As it pertains to this iViotion and not the bifurcated briefing schedule, Defendants may,
in their discretion, refile a motion for summary judgment regarding only the issue of standing and
not the remaining issues raised in the Motion and addressed in this Order.

19 To the extent that this Order affects Defendants’ objections to P|aintiffs expert Dr. John
M. Connor, Defendants may in their discretion refile their Daubert Motion.

 

2° To the extent that this Order affects Piaintiff’s arguments included in its Motion for Partial
Summary Judgment P|aintiff may in its discretion refile its Motion.

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incorporated Memorandum of Law (Doc. 199) is DENlED without prejudice to refiling
on or before May 1, 2019.21
c. On or before January 31, 2019, the parties shall file a joint notice
advising the Court of whether they are willing to participate in a settlement conference
before the Honorable Patricia D. Barksdale, United States Magistrate Judge. if the parties
are willing to participate in a settlement conference, the Court will stay (1) the February
15, 2019 deadline for Defendants to file a motion for summary judgment regarding only
the issue of standing and (2) the Niay 1, 2019 deadline to file dispositive and Mej_t
motions until the settlement conference has concluded and the deadlines remain
necessary. if the parties are not willing to participate in a settlement conference, the Court
will set the matter for trial.
3. The Cierk is of the Court is directed to ADM|N|STRAT|VELY CLOSE this
action pending further order from the Court22

vi
DCNE and ORDERED in Jacksonville, Florida this \(Q day of January, 2019.

BRiAN J. oAvisV
United States District Judge

 

5
Copies furnished to:

Counsel of Record

 

21 To the extent that this Order affects Piaintiff’s arguments included in its Motion to
Exclude or Strike, specifically the issue regarding standing and the additional briefing required,
P|aintiff may in its discretion refile its Motion.

22 The Cierk of the Court is directed to LEAVE PEND|NG any motions unresolved by this
Order,

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